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                      DEFENDANT EEOC’S REPORT OF STEPS TO
                     IMPLEMENT THE EEO-1 COMPONENT 2 DATA
                     COLLECTION: SUBMITTED SEPTEMBER 6, 2019


Activities Since Submission of August 16, 2019 Status Report to Court

       On August 21, 2019, NORC, on behalf of the EEOC, mailed via United States Postal

Service the second of two “reminder” letters to employers with login information for the

Component 2 EEO-1 Online Filing System portal. On August 22, 2019, NORC, on behalf of the

EEOC, sent the second reminder email to employers with login information for the Component 2

EEO-1 Online Filing System portal.

       On August 25, 2019, updated versions of technical assistance materials were added to the

“More Info” page on the Component 2 EEO-1 Online Filing System website. Version three of

the User’s Guide now includes an appendix detailing the onscreen help text available in the

online form. Updated versions of the upload file specifications and upload file validation process

documents provide additional user guidance.

       On September 3, 2019, as a follow up to the second reminder letter and email, NORC, on

behalf of the EEOC, contacted via telephone employers who had submitted data to the

Component 2 Online Filing System, but had not yet certified the data.

Activities Anticipated from September 6, 2019 – September 27, 2019

       As further follow up to the second reminder and email, NORC, on behalf of the EEOC,

will begin contacting via telephone approximately 37,000 employers who have neither contacted

the NORC Component 2 Help Desk, registered for access to the online portal, or submitted data.

Status of Response Rate

       As of September 5, 2019, 13.4% of eligible filers have completed submission of

Component 2 EEO-1 data.



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       Although not directly at issue in this action, the Commission advises that, pursuant to the

requirements of the Paperwork Reduction Act, the Commission is preparing a Notice of

Information Collection – Employer Information Report (EEO-1) to seek authorization from the

Office of Management and Budget for the collection of data during the period 2019-2021 (the

“Notice”). When finalized, the Notice will be published in the Federal Register and the public

will be invited to submit comments to the Commission. The Commission will file a courtesy

copy of the final Notice with the Court.




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